Case 2:04-cr-20415-.]PI\/| Document 83 Filed 06/13/05 Page 1 of 2 Page|D 102

IN THE UNITED sTATEs DIsTRICT coURT FIE.ED E`T' V“Q"/DL
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 55 JUH |3 PH 5: 32

 

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UNITED STATES OF AMERICA

Plaintiff,
VS. CR. NO. 04-20415-Ml
STEFANIE ROBERSON

Defendant.

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ORDER ON CHANGE OF PLEA

 

This cause came to be heard on June 13, 2005, the United States
Attorney for this district, David Henry, appearing for the Government and
the defendant, Stefanie Roberson, appearing in person and with counsel,
Irwin Salky and Stephen Tapp, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and, entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, SEPTEMBER 13, 2005, at
9:00 a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps
McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the }:5 day of June, 2005.

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JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 83 in
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Honorable J on McCalla
US DISTRICT COURT

